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A 0 24SB R e v 06/05)Sheet I - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                  :MIDDLE DISTRICT OF F L O m A
                                                        TAMPA DWISlON



I.TrJlTED STATES OF AMERICA                                   JUDGMENT LU A CIUMLNAL CASE
                                                              CASE N W E R : 8:08-~-132-T-30MAP
                                                              USM NUMBER: 50069618
vs.


BEN JAMIN TORRES
                                                              Defendant's Attorney; DavidAlan Dee, cja.

THE DEFENDANT:

-
X pleaded gutty to caunt(s) ONE of the Indictment.
- pleaded nab contendere to count(@which was accepted by h e court
-was found guiIty on count(s) after a plea of not guilty.

TITLE & SECTION                     NATURE OF OFFENSE                           OFFENSE ENDED                     COUKT

2 1 U.S.C. jj$ 846,84l(a)(l) and    Conspiracy to Possess with Intent to        June 13. 2007                       Ons
Ib)( 1 )(B)m                        Distribute 500 Gram or M m of Cocaine


       The defendant issentenced as provided in pages2 through6 of thisjudgment. The sentence is imposed pursiian~10the Sentencing
Reform Act of 1984.

-The defendant has been found not guilty on count(s)
X Count(s) TWO ofthe Indictment is dismissed on the mouon of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United Slates Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines. restihtion. costs, and special assessments imposed by this judgment are filly paid
If ordered to pay restitution, the defendant must notify the cowl and United States Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: August 21,2008




                                                                                J
                                                                                    a ~    SMOODY,
                                                                                              .



                                                                                 DATE: August      2      2008
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A 0 2458 (Rev 06105) Sheet 2 - Imprisonment (JudgmentIn a Cr~n\lnnlCase)
Defendant:          BENJAMIN TORRES                                                                        Judgment - Page 2_ of
Case No.:           8:08-cr-132-T-30MAP

                                                              IMPRISONMENT

        After considering the advisory sentencing guidelines and all o f the factors identified in l'itlc I8 U.S.C. g§
3553(a)(l)-(7), thc court finds t h n t the sentence imposed is sufficient, b u t not greater than necessary, to comply with
tbe statutory purposes of sentencing.



          The defendant i s hereby c o n ~ m j t t e dto the custody of the Unitcd States Burcau o f Prisons t o be imprisoned f o r
a total term of FIFTY-SEVEN (57) MONTHS as to Count One of the Io dictmc n t.




-
X The court makes the following recommendationsto the Bureau of Prisons:The defendant shall be placed at FCI Coleman (FL],
if possible



-The defendant is remanded to the custody ofthe United States Marshal.
-The defendant shall m d e r to the United Marshal For this district.
                                                State

       -at -am.lp.m. on -.
          -as notifiedby the United States Marshal,
X The defendant shall surrender for service of sentenceat the institution designated by the Bureau of Prisons
          -before 2 p a on -.
          -
          X as notified by the United States Marshal.
          -as notified by the Probation or Pretrial Saviccs O f t i ~ c




          I have esecuwd this judgment as follows:




          Del'endanr delivered on                                           to
-    at                                                               . with a certified copy of this judgment.


                                                                                G t e d States Marshal

                                                                          By:
                                                                                        Deputy United States Marshal
        Case 8:08-cr-00132-JSM-MAP Document 48 Filed 08/25/08 Page 3 of 6 PageID 99
A 0 245B (Rev. 06/05] Shed 3 - Supervised Release (Judgment in a Criminal Case)
Defendant:           BENJAMIN TORRES                                                                                Judgment - P a g e 3 o f 6
Case No.:            8:08-cr-132-T-3OMAP
                                                            SUPERVISED RELEASE

           Upon relel~sef r o m imprisonment, the defendant shall be on supervised release far a term o f F I V E (5) YEARS as to C o u n t
O n e o f thc Indictment.

         The defendant nust report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

The defendant shall not conunit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawhl use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release From imprisonment and at least two periodic drug tests thereafter, as determined by the coun.

         The defendant shall not possess a fuearm. destructive device, o r any other dangerous weapon.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer.

            If this judgment imposes a fine or restjtution it is a condition o f supenised release that the defendant pay in accordance with the
            Schedule of Payments sheet of this judgmen~.

            The defendant must comply with the standard conditions that have been adopted by this coun as well as with any additional
            conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
            the defendant shall not Iwve thc judicial district withour the permission o f thc court or probation olticcr.

            the defendant shall rcport to tllc probation officer and shall submit a truthful and cornplctc writtcn rcport within the t i r n five days of each
            month;

            the defendant shall answcr truthfully all inquiries by the probation officer and follow the instructions of rhc probation ofticer;

            the defendant shall suppclrt his or her dependents and meet other family responsibilities;

            the defendant shall work regularly at a l a h l t~cupation,unless cxcuscd by the probation officcr li)r schooling, twining, or other
            acceptable reasons;

            the defendant shall no ti^ thc probation oficer at least ten days prior to m y change in rcsidcncc or cmployment;

            the defmhnt shall rcthin h m excessive use of alcohul and shall not purchase, possess, use. distribute. or administer any controlled
            substance or any paraphernalia related to any controlled substances. except as prescribed by a physician;

            h e defendant shall nor frequent places where controlled substances are illegally sold, uscd. distributcd. or adminisrcrrd:

            the defendant shall not associate with any p a w n s engaged in criminal activity and shall not associate with any pcrsorl convicted o f a
            felony, unless gmntcd pcmlission to do so by the probation oficm,

            the defendant shall permit a probation officer to hisit him or h a at m y time at home or clscwhcrc and shall pctmir contiscation o f any
            contraband ubscncd in plain view of the probation officer:

            the dcfcndant shall notify thc probation ofiiccr within scvcnty-two hours o f being arrested or qut~tionculby a law enforcement officer.

            thc defendant shall not cnrrr into any sgrccrnent to act as an informer or a special agent o f a law cnti~rccmentagency without the
            permission o f the court; and

            as directcd by thc probation officer, the defendant shall notify third parties o f risks that may hc occasioned by thc dcfcndant's criminal record
            or personal history or characteristics and shall permit thc probation officer to make such notificutions and to confirm the defendant's
            compliance with such notification requirement.
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A 0 2458 (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)
&fendant:          BENJAMIN TORRES                                                         Judgment - Page Ir of (,
Case No.:          8:08-cr-132-T-3OMAP
                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of superv~sedreiease:

         The defendant sMl provide the probation officer access to any requested financial information.


-
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

-
S        Themandat~rydrugtes~gpmvisionsshallapplypursuantto~eViolenrCrin~eConrrolAct.
                                                                                  TheCourtordersrandomdrug
         testing not to exceed 104 tests per year.
       Case 8:08-cr-00132-JSM-MAP Document 48 Filed 08/25/08 Page 5 of 6 PageID 101
 A 0 245B (Rev 06/05) Shea 5 - Criminal Monemy Penalties (Judgment in a Criminal Case)
 Defendam          BENJAMIN T O W S                                                                      -
                                                                                             J udgment Page 5 of 6
 Case No.:         8:08-cr-132-T-3OMAP

                                           CRIMINAL MONETARY PENALTIES

          The defendant must pay lhe total criminal monetary penalties under the schedule of payments on Sheet 6.
                            As5essment                                                       Total Restitution

         -
         Totals:


          The determination of restitution is deferred until -.            An Amended Judgment in a Criminal Case ( A 0 245C) will
          be entered after such determination.
          The defendant must make restitution (including community restitution) to the following payees in the amount listed
          below.
          If the defendant makes a partial payment, each payee shall rseive an ap&mxlmateIy proportioned payment, unless
               iced othmse in the priority order or percentagepa eat column low. However, pursuant to I8 U.S.C. 4
          %(I), dl n o n - f M nctrmr must be pmd Lxfore the g t e d Stares.


 Name of Pavee                                 Toral Lossi                 Restitution Ordcrrd




          Resti~utionamount ordered pursuant to plea agreement S
          The defendant must ay interest on a fine or restitution of more than $2.500. unless the restitution or frne is paid in full
                              bh
          before the fifteenth y after the date of the judgment, pursuant to 18 U.S.C.(i 36 12(f). All of the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 36 12(g).
          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         -        the interest requirement is waived for the _ fine      _    restitution.
                  the interest requirement for the - h e - restitution is modified as follows:


^ Findings for the total amount of losses are tequired under Chapters 1094 110,110k and 1 13A of T i e 18 for the offenses committed
on or &EX September 13.1994. but beforeApsii23.1996.
        Case 8:08-cr-00132-JSM-MAP Document 48 Filed 08/25/08 Page 6 of 6 PageID 102
                              -
A 0 245B (Rev 06105) Shm 6 Schcdulc of Payments (Judgment in a Criminal Case)

Defendant:         BENJAMIN TORRES                                                            Judgment - Page 6of 6
Case No.:          8:08-cr-132-T-30MAP



                                                   SCHEDULE OF P4YMENTS



Having assessed the clcfmtlant's ahlily to pay, payment of the toral criminal monetary penallies are due as follows:

          X        Lump sum pa! tncllt I I ~ ' > 1 0 0 . ( ~ 0~ l ~~r:irwdi:i~cI~.
                                                                   ie          b~~!~ince
                                                                                     due




                   Special instruct inns regarding dle payment of criminal r n o n e t a ~ ypenalf ies:


Unless the court has expressly ordered otherwise, tf t h s judgment imposes imprisonment, payment of criminal monetary
penalties is due during m risonment. All criminal monetary penalties, except those ayrnents made through the Federal
                              $
Bureau of Prisons'Inmate inancial Responsibility Program, are made to the clerk oft e court.        \
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
          The defendant shall pay the following court costts):
-        The defendant shaIl forfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediateIy and voluntarily any and all assets and
property,or portions thereof, subject to forfeiture, which arein the possession or control of the defendant or the defendant's
nominees.
Payments shal be applied in the following order: (1) assessment,12) restitution principal, (3) restitution interest, (4) fine principal, ( 5 )
tine ~nlerest,(6) community restitution, (7) penalties, and (8) costs, including cost of prosccut~on~ n couri
                                                                                                         d    costs
